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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOHN W. BURNARD AND KURT B.
BURNARD, AS ADMINISTRATOR
OF THE ESTATE OF ELLA E.
BURNARD, DECEASED

No. 5:18-CV-00607-JFL

vs.

)

)

)

)

Plaintiffs )

)

)

MICHAEL J. STOCKER )
)

Defendant

DEFENDANT, MICHAEL J. STOCKER’S ANSWER AND
NEW MATTER TO PLAINTIFFS’ COMPLAINT

AND NOW, comes the Defendant, Michael J. Stocker, by and through his
attorneys, Goudsouzian & Associates, and responds to Plaintiffs’ Complaint as
follows:

I. INTRODUCTION

1, Denied. It is specifically denied that the above captioned matter
involves any inappropriate action by Defendant,
Il. JURISDICTION AND VENUE

2, Admitted.

 
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3, Admitted in part, denied in part. It is admitted that the Court has
jurisdiction over the parties. It is denied that Defendant was engaged in any
continuous or systematic business activity, scheme or conspiracy,

4, Admitted,

5. Admitted.

I. FACTUAL BACKGROUND

6. Admitted.

A. ALFONSE PICONE AND HIS CONVICTION

7. Denied. After reasonable investigation, Defendant is without
knowledge or information sufficient to form a belief as to the truth of the
averments in this paragraph.

8. Denied. After reasonable investigation, Defendant is without
knowledge or information sufficient to form a belief as to the truth of the
averments in this paragraph.

9, Denied. After reasonable investigation, Defendant is without
knowledge or information sufficient to form a belief as to the truth of the
averments in this paragraph.

10. Denied. After reasonable investigation, Defendant is without
knowledge or information sufficient to form a belief as to the truth of the

averments in this paragraph.

 
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Il. Denied. After reasonable investigation, Defendant is without
knowledge or information sufficient to form a belief as to the truth of the
averments in this paragraph.

12, Denied. After reasonable investigation, Defendant is without
knowledge or information sufficient to form a belief as to the truth of the
averments in this paragraph.

13. Denied, After reasonable investigation, Defendant is without
knowledge or information sufficient to form a belief as to the truth of the
averments in this paragraph, By way of further answer, it is believed and therefore
averred that the Burnards’ Stifel Nicolaus Premier Stock account was not
overdrawn. Rather, it is believed and therefore averred that checks would be
written and that stock would be sold to have funds available for the checks.

14, Denied. After reasonable investigation, Defendant is without
knowledge or information sufficient to form a belief as to the truth of the
averments in this paragraph. By way of further answer, Mr. Picone did not act in
concert with Defendant.

B. DEFENDANT STOCKER JOINS PICONE’S FRAUDULENT
SCHEME

15. Denied. After reasonable investigation, Defendant is without
knowledge or information sufficient to form a belief as to the truth of the

averments in this paragraph.
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16. Denied, After reasonable investigation, Defendant is without
knowledge or information sufficient to form a belief as to the truth of the
averments in this paragraph.

17. Admitted in part, denied in part. It is admitted that a check was drawn
on the Burnards’ Wells Fargo Checking Account for $20,000.00. It is admitted that
the check was made payable to Mike Stocker. With regard to the remaining
averments in this paragraph, Defendant is without knowledge or information
sufficient to form a belief. By way of further answer, this payment was a check
signed by Ella E. Burnard for a new vehicle for Michael Stocker.

18, Denied. After reasonable investigation, Defendant is without
knowledge or information sufficient to form a belief as to the truth of the
averments in this paragraph.

19, Denied. After reasonable investigation, Defendant is without
knowledge or information sufficient to form a belief as to the truth of the
averments in this paragraph. By way of further answer, it is believed and therefore
averred that the transfer of funds was at the request of the Burnards. By way of
further answer, it is admitted that Defendant did redeposit the check.

20. Admitted in part, denied in part. It is denied that Defendant had a

position on his resume that he had a position at Stifel Nicolaus. It is admitted that

 
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Defendant has listed on his Linkedin account that he had a position at Stifel
Nicolaus. This was for a short period of time and was removed promptly.

21. Admitted in part, denied in part. It is admitted that Defendant did
receive the checks as set forth in paragraph 21. With regard to the checks received
by Picone, Defendant is without knowledge or information sufficient to form a
belief as to the truth of the averments in this paragraph.

22. Denied. After reasonable investigation, Defendant is without
knowledge or information sufficient to form a belief as to the truth of the
averments in this paragraph.

23, Denied, After reasonable investigation, Defendant is without
knowledge or information sufficient to form a belief as to the truth of the
averments in this paragraph. By way of further answer, it is believed and therefore
averred that Stifel Nicolaus would contact the Burnards about their account and
their balance was not overdrawn. Rather, Stifel Nicolaus would communicate with
Mr. Burnard and/or Mrs. Burnard with regard to the status of their account.

24, Denied. After reasonable investigation, Defendant is without
knowledge or information sufficient to form a belief as to the truth of the
averments in this paragraph. By way of further answer, it is believed and therefore
averred that Stifel Nicolaus contacted the Burnards with regard to their account,

25. Admitted.

 
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26. Admitted in part, denied in part. It is admitted that Defendant wrote a
check to Picone from his own account. Picone approached Defendant and asked for
a loan. Defendant lent Picone money pursuant to Picone’s request. Defendant was
also manipulated by Picone.

27. Admitted in part, denied in part. It is admitted that Defendant was not
an owner nor an authorized signature on the Burnards’ Wells Fargo accounts or
their Stifel Nicolaus accounts. With regard to the remaining averments in this
paragraph, Defendant is without knowledge or information sufficient to form a
belief as to the truth of the averments in this paragraph.

28. Denied. It is specifically denied that Defendant paid Picone
$15,000.00. Rather, Defendant lent Picone $15,000.00 pursuant to Picone’s
request.

29, Admitted.

30. Denied. After reasonable investigation, Defendant is without
knowledge or information sufficient to form a belief as to the truth of the
averments in this paragraph.

C. DEFENDANT STOCKER STRIPPED THE BURNARDS OF
THEIR LIFE’S SAVINGS

31. Denied, After reasonable investigation, Defendant is without
knowledge or information sufficient to form a belief as to the truth of the

averments in this paragraph,

 
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32, Denied. After reasonable investigation, Defendant is without
knowledge or information sufficient to form a belief as to the truth of the
averments in this paragraph.

33. Denied. With regard to Alfonse Picone, after reasonable investigation,
Defendant is without knowledge or information sufficient to form a belief as to the
truth of the averments in this paragraph. With regard to Defendant, the Burnards
specifically intended to give to Stocker the monies that they did.

34, Denied, With regard to Alfonse Picone, after reasonable investigation,
Defendant is without knowledge or information sufficient to form a belief as to the
truth of the averments in this paragraph, With regard to Defendant, it is specifically
denied that the Burnards had no intention of giving Defendant financial benefits,
the Burnards did intend to give Defendant financial benefits.

35. Denied. With regard to Alfonse Picone, after reasonable investigation,
Defendant is without knowledge or information sufficient to form a belief as to the
truth of the averments in this paragraph. With regard to Defendant, the monies
provided to Defendant from the Burnards were gifts.

36. Denied, With regard to Alfonse Picone, after reasonable investigation,
Defendant is without knowledge or information sufficient to form a belief as to the
truth of the averments in this paragraph. With regard to Defendant, the monies

provided to Defendant from the Burnards were gifts.

 
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37. Denied. After reasonable investigation, Defendant is without
knowledge or information sufficient to form a belief as to the truth of the
averments in this paragraph.

38. Denied. Defendant utilized the gifts from the Burnards for various
purposes.

39. Denied. It is denied that any cash, stocks or annuities were
fraudulently sold or stolen by Defendant.

40. Denied. After reasonable investigation, Defendant is without
knowledge or information sufficient to form a belief as to the truth of the
averments in this paragraph.

41. Denied, With regard to Alfonse Picone, after reasonable investigation,
Defendant is without knowledge or information sufficient to form a belief as to the
truth of the averments in this paragraph. With regard to Defendant, the Burnards
knowingly and voluntarily provided Defendant with the gifts throughout their
lifetime.

42, Denied. After reasonable investigation, Defendant is without

knowledge or information sufficient to form a belief as to the truth of the

averments in this paragraph.

 
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43, Denied, It is specifically denied that Defendant conduct was reckless
and/or willful. Rather, Defendant was the recipient of gifts provided by the
Plaintiffs.

TV. CAUSES OF ACTION

FIRST CAUSE OF ACTION
FRAUD

44. Defendant incorporates the proceeding paragraphs as if set forth at
length.

45. Denied. The averments in this paragraph contain conclusions of law
which need not be answered. By way of further answer, it is specifically denied
that Defendant ever acted fraudulently. It is further specifically denied that
Defendant misled the Burnards to believe he was acting in good faith when he
actually intended to deceive them and strip them of their life’s savings. It is further
specifically denied that Defendant made false and/or misleading statements of fact
concerning his intentions with the Burnards’ assets, as set forth previously herein.
It is further specifically denied that Defendant assisted Alfonse Picone in any way.
It is further specifically denied that Defendant forged the Burnards signatures on
checks, applications or otherwise.

46, Denied. The averments in this paragraph contain conclusions of law

which need not be answered.

 

 
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47. Denied. The averments in this paragraph contain conclusions of law
which need not be answered. By way of further answer, at no time did Defendant
possess or control the Burnards’ assets.

48. Denied, The averments in this paragraph contain conclusions of law
which need not be answered. By way of further answer, it is specifically denied
that Defendant ever made any false, misleading, deceptive, or malicious advise,
recommendations and/or statements to Plaintiffs.

49, Denied. The averments in this paragraph contain conclusions of law
which need not be answered. By way of further answer, it is specifically denied
that Defendant acted with malicious intent, recklessness and willfulness towards
the Burnards.

50. Denied. The averments in this paragraph contain conclusions of law
which need not be answered. By way of further answer, it is specifically denied
that Defendant ever made any unconscionable practices, false pretenses,
misrepresentations, concealment and suppression.

31, Denied. It is specifically denied that Defendant would encourage Ms.
Burnard to sign blank checks to him and then would tell her he would handle her
bills and expenses, but instead would write in whatever amount of money he

wanted for himself,

 
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52. Denied. The averments in this paragraph contain conclusions of law
which need not be answered. By way of further answer, it is specifically denied
that Defendant would approve the transfer from an overdrawn account or would
receive assistance from another employee, agent or servant of Stifel Nicolaus.

53. Denied. The averments in this paragraph contain conclusions of law
which need not be answered. By way of further answer, it is specifically denied
that Defendant’s actions were misleading, deceptive, fraudulent or unlawful.

54. Denied, The averments in this paragraph contain conclusions of law
which need not be answered. By way of further answer, it is specifically denied
that Defendant’s actions were misleading, deceptive, fraudulent or unlawful.

WHEREFORE, Defendant respectfully requests that this Honorable Court
deny and dismiss Plaintiffs’ Complaint.

SECOND CAUSE OF ACTION
CONVERSION

55, Defendant incorporates the proceeding paragraphs as if set forth at
length,

56. Denied, The averments in this paragraph contain conclusions of law
which need not be answered, By way of further answer, Defendant did not deprive

the Burnards of any savings, cash, interest or securities.

 

 
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57. Denied, The averments in this paragraph contain conclusions of law
which need not be answered. By way of further answer, it is specifically denied
that Defendant took the Burnards’ savings in any way.

58. Denied. It is specifically denied that Defendant remains in possession
of the Burnards’ money.

59, Denied. It is specifically denied that Defendant took or remained in
possession of the Burnards’ savings. Rather, the Burnards voluntarily gifted
Defendant money.

60. Denied. The averments in this paragraph contain conclusions of law
which need not be answered.

61. Denied. The averments in this paragraph contain conclusions of law
which need not be answered.

WHEREFORE, Defendant respectfully requests that this Honorable Court
deny and dismiss Plaintiffs’ Complaint.

THIRD CAUSE OF ACTION
CIVIL CONSPIRACY

62. Defendant incorporates the proceeding paragraphs as if set forth at
length.

63. Denied. The averments in this paragraph contain conclusions of law
which need not be answered, By way of further answer, Defendant did not act in

concert with Picone.

 
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64, Denied. The averments in this paragraph contain conclusions of law
which need not be answered. By way of further answer, Defendant did not act in
concert with Picone.

65, Denied, The averments in this paragraph contain conclusions of law
which need not be answered. By way of further answer, Defendant did not act in
concert with Picone.

66. Denied. The averments in this paragraph contain conclusions of law
which need not be answered. By way of further answer, Defendant did not act in
concert with Picone, By way of further answer, it is specifically denied that
Defendant forged financial documents, wilifully disregarded reporting
requirements, concealed their employee’s missteps and accepted stolen property as
payment,

67. Denied. The averments in this paragraph contain conclusions of law
which need not be answered, By way of further answer, it is specifically denied
that meetings, conferences, telephone, email and other communications were held
between Defendant and Picone for any improper practice.

68. Denied. The averments in this paragraph contain conclusions of law
which need not be answered. By way of further answer, it is specifically denied
that Defendant performed any act intending to injure Plaintiffs or disregard their

health, life and property interests.

 
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69. Denied. The averments in this paragraph contain conclusions of law
which need not be answered. By way of further answer, it is specifically denied
that Defendant acted with malicious intent, recklessness, and willful ness towards
the Burnards.

70. Denied. The averments in this paragraph contain conclusions of law
which need not be answered.

WHEREFORE, Defendant respectfully requests that this Honorable Court
deny and dismiss Plaintiffs’ Complaint.

NEW MATTER

71. Defendant incorporates the proceeding paragraphs as if set forth at
length.

72, Ella EK, Burnard, otherwise known as Aunt Ella to Defendant Michael
J. Stocker (“Mikey”), worked at Taylor Wharton as a secretary when upon
graduating from Easton High School.

73. Aunt Ella was born in 1923.

74. Aunt Elia did not get married until she was in her late 40’s.

75. Aunt Ella met John “Wayne” Burnard around 1970.

76. In 1970, Aunt Ella (at that time known as Ella M, Elias) bought a

home on Greenwood Avenue in Palmer Township in her own name.

 
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77, After Ella purchased the home, “Wayne” moved into her home on
Greenwood Avenue from a third-floor room that he was living in at someone’s
house after separating from his wife.

78. Aunt Ella sold the Greenwood Avenue house in 1975.

79. In 1975, Aunt Ella bought a home on Parker Avenue in the College
Hill section of Easton and John “Wayne” Burnard moved into that home also.

80. Aunt Ella and Wayne bought a home in Reston, VA when her
employer, ANPA relocated. They purchase the Reston, VA home in 1983.

81. Also, in 1983, Aunt Ella and Wayne purchased a property at 45
Crescent Drive in Nesquehoning,

82, However, Aunt Ella kept her home on College Hill in Easton until
1988.

83. John “Wayne” Burnard and Ella Elias Burnard were married after
some years of living together in 1990.

84, John “Wayne” Burnard and Aunt Ella did not have any natural
children.

85. John “Wayne” Burnard had a prior marriage to Elizabeth Burnard.
They never had biological children. John “Wayne” and Elizabeth Burnard adopted
two children, The couple divorced and the children (Kurt and Kim) remained with

their mother.

 
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86. ‘The plaintiff, Kurt Burnard is not a blood relative of Ella Elias
Burnard. and never resided with John “Wayne” Burnard or Ella Elias Burnard.

87, The children of John “Wayne” Burnard’s prior marriage never resided
with or were adopted by Ella Elias Burnard having no relationship blood or
otherwise with Ella Elias Burnard or her family,

88. It is believed and therefore averred that Kurt Burnard is the adopted
son of John “Wayne” Burnard from the prior marriage to Elizabeth Burnard.

89. Aunt Ella was the first cousin of Dorothy Karam Mawad.

90, Aunt Ella had a close relationship with Dorothy and Dorothy’s family.

91. Dorothy Karam Mawad was the grandmother of Defendant, Mikey
Stocker,

92, Mikey Stocker was the first-born child of Barry Michael and Rebecca
Mawad Stocker, Mikey was born on August 24, 1993. Barry Michael Stocker and

Rebecca Mawad Stocker had a second child, Shelby Stocker born on December 13

3

1998.

93. Upon the birth of both the Stocker’s children, Aunt Ella was not
married and did not have any children of her own.

94. Aunt Ella was very generous with Birthday, Christmas, Baptism, Holy

Communion, Graduation and Wedding presents to all of Dorothy’s children and

grandchildren.

 
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95. Aunt Ella even paid for Dorothy’s funeral and mercy meal.

96. Ella treated Rebecca, Shelley and Barbara, daughters of Dorothy
Karam Mawad as they were her own children,

97, Aunt Ella was Godmother to Dorothy’s first born, Shelley.

98. Shelly bought Aunt Ella and Wayne their first cell phone, and for a
period of time, paid their bill.

99, Aunt Ella had a particularly close relationship with Mikey Stocker as
well as another relative, Rema (Shelley’s daughter).

100. For example, Aunt Ella bough Rema’s wedding dress.

101. Aunt Ella was always generous to Mikey and often called him her
favorite,

102. Mikey was the first-born boy in the family.

103, Ella would buy Mikey toys, savings bonds, bicycles and other gifts. _

104. By way of example, and not limitation, Aunt Ella bought Rema
(Shelley’s daughter) a care and Mikey his first car.

105. While Aunt Ella was living in Reston, VA she would return to Easton,
PA for weekends and all holidays which were spent at Dorothy, Rebecca or
Shelley’s homes with the children and grandchildren of Dorothy.

106. When Mikey was a child, Ella would give him cash anywhere

between $20.00 and $400.00 every weekend when she came to Easton,

 

 
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107. On one occasion, Ella gave Mikey a bank envelope with
approximately $1,800.00 in cash,

108, After Ella met Wayne, she would give money or checks to Mikey and
often say “Don’t tell Wayne.”

109, On certain occasions, when Wayne saw Ella giving Mikey cash, he
asked “what’s that” and Ella would respond to Wayne “shut your mouth, don’t
worry about it.”

110. These gifts to Mikey continued throughout her lifetime well prior to
this litigation and were never coerced or requested by anyone.

111. These gifts were free of undue influence, coercion, fraud, conversion
or any of the unlawful mechanism for the transfer of funds.

112. There is absolutely no fraud, conversion, civil conspiracy as plead by
the Plaintiffs. Quite the contrary, the money given to Mikey reflected her bond
and love for Mikey who is in essence a surrogate son/grandson to Aunt Ella,

113. Rema, Shelley’s daughter lived at the home in Reston, Virginia for
approximately 8 years rent and bill free.

114, Mikey was a House of Representatives Page prior to attending
George Washington University and Aunt Ella and her husband allowed him to live
there while he was a student at George Washington, as well as a summer intern in

Washington D.C. and provided funds for renovations to the townhome.

 
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115, Aunt Ella and John Wayne Burnard wanted Mikey to have the home
in Reston, VA and prepared and executed a transfer of death documentation
leaving the townhome to Mikey Stocker.

116. Aunt Ella vacationed with Dorothy and her daughters and their
families.

117. Aunt Ella bought a timeshare for Dorothy in Aruba so they could all
stay together.

118. Even though Aunt Ella and John Wayne Burnard stayed there, Aunt
Ella bought the timeshare for Dorothy and their family.

119. Aunt Ella put the property in Dorothy’s name.

120. When Aunt Ella moved back to Pennsylvania, specifically,
Nesquehoning, PA, Aunt Ella would attend weekly Sunday Dinners with Dorothy
and the family, coming to Easton they would meet after mass and shop for the food
to prepare the Sunday dinner together.

121. Mikey and Shelby Stocker, Rebecca’s children would have sleepovers
at Aunt Ella’s house in Nesquehoning, PA.

122, Aunt Ella would stay at Rebecca’s (Mikey’s mother) house with
Dorothy when Rebecca’s husband traveled on business trips so Rebecca would not

be alone and Aunt Ella and Dorothy could spend more time with the children,

 
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123. Once Dorothy and her husband, Emil passed away in January and
May, respectively of 2007, Aunt Ella would come to Easton three to five times a
week visiting her family, Dorothy’s children and grandchildren.

124, The Plaintiff Kurt Burnard never had any relationship with any of
Ella’s family members, including his absence from every Christmas, Thanksgiving
and Birthday celebrations of Aunt Ella’s blood family gatherings. From the 1970's
and for many years, there was little to no mention of Kurt B. Burnard to defendant.

125. Moreover, the source of the funds was primarily Ella Elias Burnard’s.

126. Aunt Ella also worked from the time she graduated high school and
saved,

127, As noted above, when Aunt Ella moved back to Pennsylvania, they
kept the townhome in Reston VA.

128. Ata later date, despite the fact that the Reston, VA home was listed to
be and remained a transfer on death to Mikey Stocker, John “Wayne” Burnard
asked for Mikey to purchase the house.

129. John “Wayne” Burnard asked that the purchase price be $94,000.00
and a written agreement was executed.

130. Mikey Stocker purchased the Reston, VA property and paid Aunt Ella

and John “Wayne” Burnard the $94,000.00 as requested by John “Wayne” Burnard

 
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as opposed to receiving it upon Aunt Ella and John “Wayne” Burnard’s death for
free.

131. Closing took place October 2015,

132, Mikey Stocker’s father, Barry Michael Stocker, was the individual
who alerted the authorities and Elder Abuse as to the actions of Alfonse Picone.

133. In fact, Alfonse Picone took advantage of Mikey Stocker.

134, During that same time period, relatives of Mikey Stocker told the
Plaintiff, Kurt Burnard, what was transpiring with regard to Alfonse Picone.

135, Atno time did Mikey Stocker engage in any conspiracy with Alfonse
Picone to deplete Aunt Ella and John “Wayne” Burnard’s funds.

136. Eventually, the Plaintiff, Kurt Burnard, isolated Aunt Ella and John
“Wayne” Burnard from Aunt Ella’s family.

137, The Plaintiff, Kurt Burnard prevented Aunt Ella’s family from seeing
her, notifying the nursing home that Rebecca and her family were prohibited from
visiting her, isolating her from her beloved family.

138. Aunt Ella’s family was not permitted to attend her funeral which was
not a Catholic funeral despite Aunt Ella being a Maronite Catholic and member of
Our Lady of Lebanon Church her entire life.

139. Itis believed and therefore averred that Wayne was aware that Ella

was writing checks to Mikey and did not object or stop Ella from doing so.

 
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140, Wayne’s objections began at a later date.

141. Itis believed and therefore averred that Wayne approved the
transactions that were necessary.

142, Itis believed and therefore averred that Wayne authorized financial
institutions to take the necessary steps to effectuate the transactions.

143. Itis believed and therefore averred that Ella and Wayne were advised
that they should consider leaving gifts through a Will and they were unable to
agree on how to do so for an extended period of time.

144. During this period of time, as well as other times, Ella made a series
of gifts to various individuals including Mikey,

145. Aunt Ella named Mikey Stocker and his sister, Shelby Stocker as
beneficiaries on a $12,000.00 life insurance policy.

146. Mikey Stocker received a check from MetLife for approximately
$6403.49.

147, At all relevant times, the gifts made to Mikey Stocker were made
knowingly, voluntarily and without duress,

148. At all relevant times, the gifts made to Mikey Stocker were made as
Mikey Stocker was a beloved relative of his Aunt Ella.

149, Mikey Stocker was also taken advantage of by Picone and sought

legal counsel to try and have the money returned to him.
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150,

151,

Defendant is entitled to a setoff.

Defendant is entitled to a setoff from any moneys received by Plaintiff

from any third party based on the allegations in Plaintiffs complaint.

152.

153.

154,

155.

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157.

138.

159,

Defendant believes and therefore avers that Plaintiff has received,
Defendant raises the affirmative defense of accord and satisfaction.
Defendant raises the affirmative defense of estoppel.

Defendant raises the affirmative defense of failure of consideration,
Defendant raises the affirmative defense of laches.

Defendant raises the affirmative defense of license.

Defendant raises the affirmative defense of payment.

Defendant raises the affirmative defense of release.

WHEREFORE, Defendant respectfully requests that this Honorable Court

deny and dismiss Plaintiffs’ Complaint.

Respectfully submitted,

 

Steven N. Goudsouzian, Esquire
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Attorney ID No. 74831

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VERIFICATION

The undersigned hereby states that the statement of fact made in the
foregoing document are true and correct to the best of our information and belief.
The language of the document was prepared on the advice of our attorney and any
legal claims or legal defenses asserted in the document are pleaded on the advice
of our attorney. If the document contains averments which are inconsistent in fact,
then we have been unable after reasonable investigation to ascertain which of the
inconsistent averments are true, but to the best of our information and belief, one
of them is true.

1 understand that the statements herein are made subject to the penalties of

18 Pa.C.S.A. §4904 relating to unsworn falsification to the authorities.

Aya

Michael J. Stocker
Date: Marchie, 2018

 
